4:13-cr-03057-JMG-CRZ     Doc # 120   Filed: 04/22/15   Page 1 of 2 - Page ID # 496




               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                  Plaintiff,                            4:13-CR-3057

vs.
                                                           ORDER
SCOTT USHER and ROBIN USHER,

                  Defendants.

      This matter is before the Court on Defendant's Unopposed Motion for
Leave to File Motions Out of Time (filing 115). That motion will be granted.
Scott Usher's objections to the presentence report (PSR) (filing 116) and
motion for variance (filing 117) will be taken under advisement and finally
resolved at sentencing.
      It appears to the Court, from those objections, that this case may
present complicated issues with respect to loss calculation and restitution.
The burden is on the government to prove the factual basis for a sentencing
enhancement by a preponderance of the evidence. United States v. Peroceski,
520 F.3d 886, 889 (8th Cir. 2008). The government also has the burden to
demonstrate the amount of loss for purposes of restitution by a
preponderance of the evidence. 18 U.S.C. § 3664(e). Accordingly, the
government must present the Court with evidence meeting its burden.
      In order to facilitate the Court's findings in that regard, the Court will
direct the government to file a written response to the plaintiff's objections.
And, to make sure the Court is prepared to make accurate findings, the Court
will bifurcate sentencing: the Court will hold an evidentiary hearing on the
issues of loss calculation and restitution on May 1, 2015, at 9:00 a.m. The
Court will then set a date and time for a final sentencing hearing at or after
the May 1 hearing. The Court has 90 minutes set aside for that hearing; the
parties will be directed to promptly advise the Court whether that time will
be sufficient to present evidence on loss calculation and restitution. (Other
matters, such as the motion for variance, will be taken up at the final
sentencing hearing.)
      The Court also notes that while the present motions relate to the
sentencing of Scott Usher, the interests of codefendant Robin Usher—
particularly with respect to restitution—may also be implicated by the
evidence adduced at the May 1, 2015 hearing. Generally, a sentencing judge
4:13-cr-03057-JMG-CRZ    Doc # 120   Filed: 04/22/15   Page 2 of 2 - Page ID # 497




is permitted to rely upon facts gleaned from a codefendant's trial, but only if
the defendant had notice and an opportunity to respond to that evidence. See,
United States v. Bonine, No. 14-2218, 2015 WL 689584, at *2 (8th Cir. Feb.
19, 2015); Smith v. United States, 206 F.3d 812, 813 (8th Cir. 2000).
Accordingly, the Court will afford Robin Usher the opportunity to participate,
should she wish to do so, in the May 1 hearing. Counsel for Robin Usher will
be directed to inform the Court whether she intends to do so.

      IT IS ORDERED:

      1.    Defendant's Unopposed Motion for Leave to File Motions
            Out of Time (filing 115) is granted.

      2.    The government shall file a written response to Scott
            Usher's objections to the PSR on or before April 29, 2015.

      3.    An evidentiary hearing limited to the issues of loss
            calculation and restitution is set for May 1, 2015 at 9:00
            a.m. in Courtroom 1, Robert V. Denney Federal Building,
            100 Centennial Mall North, Lincoln, Nebraska.

      4.    The parties shall advise the Court on or before April 25,
            2015, if more than 90 minutes will be required for the May
            1 hearing.

      5.    A time and date for final sentencing as to defendant Scott
            Usher shall be set at or after the May 1 hearing.

      6.    Counsel for defendant Robin Usher shall inform the Court,
            on or before April 28, 2015, whether or not she intends to
            participate in the May 1 hearing.

      Dated this 22nd day of April, 2015.


                                            BY THE COURT:



                                            John M. Gerrard
                                            United States District Judge



                                     -2-
